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FILED

JNITED STATES DISTRICT COURT
LAS CRUCES, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT
JUL 132016

FOR THE DISTRICT OF NEW MEXICO

MATTHEW J. DYKMAN

UNITED STATES OF AMERICA, ) CLERK
) ~
Plaintiff, ) CRIMINALNO. \S-ISIS RE
)
vs. )
)
DANIEL LEE JACQUEZ, )
)
Defendant. )
PLEA AGREEMENT

Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), the parties hereby notify the
Court of the following agreement between the United States Attorney for the District of New
Mexico, the defendant, DANIEL LEE JACQUEZ, and the defendant’s counsel, CESAR
PIERCE-VARELA:
REPRESENTATION BY COUNSEL
1. The defendant understands the defendant’s right to be represented by an attorney
and is so represented. The defendant has thoroughly reviewed all aspects of this case with the
defendant’s attorney and is fully satisfied with that attorney’s legal representation.
RIGHTS OF THE DEFENDANT
2. The defendant further understands the following rights:
a to be charged and prosecuted by indictment;
b. to plead not guilty;
c. to have a trial by jury;

d. to confront and cross-examine witnesses and to call witnesses to testify for
the defense; and
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e. against compelled self-incrimination.
WAIVER OF RIGHTS AND PLEA OF GUILTY
3. The defendant hereby agrees to waive these rights and to plead guilty to the
Information charging a violation of 21 U.S.C. § 846: Conspiracy to Possess with Intent to
Distribute 50 Grams and More of a Mixture and Substance Containing a Detectable Amount of

Methamphetamine, contrary to 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).

SENTENCING
4, The defendant understands that the minimum and maximum penalty the Court can
impose is:

a. imprisonment for a period of not less than five (5) years nor greater than
forty (40) years;

b. a fine not to exceed $5,000,000.00;

C. a mandatory term of supervised release of not less than four (4) years. (If
the defendant serves a term of imprisonment, is then released on
supervised release, and violates the conditions of supervised release, the
defendant's supervised release could be revoked--even on the last day of
the term--and the defendant could then be returned to another period of
incarceration and a new term of supervised release); and

d. a mandatory special penalty assessment of $100.00.

5. The parties are aware that the Court may accept or reject this plea agreement, or

may defer its decision as to acceptance or rejection until there has been an opportunity to
consider the presentence report. Pursuant to Federal Rule of Criminal Procedure 11(c)(5), if the
Court rejects this plea agreement, the defendant shall have the right to withdraw Defendant's plea
of guilty.

6. The United States hereby expressly reserves the right to make known to the

United States Probation Office and to the Court, for inclusion in the presentence report prepared
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pursuant to Federal Rule of Criminal Procedure 32, any information that the United States
believes may be helpful to the Court, including but not limited to information about any relevant
‘conduct under USSG § 1B1.3.

7. Except under circumstances where the Court, acting on its own, fails to accept
this plea agreement, the defendant agrees that, upon the defendant’s signing of this plea
agreement, the facts that the defendant has admitted under this plea agreement as set forth below,
as well as any facts to which the defendant admits in open court at the defendant’s plea hearing,
shall be admissible against the defendant under Federal Rule of Evidence 801(d)(2)(A) in any
subsequent proceeding, including a criminal trial, and the defendant expressly waives the
defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence
410 with regard to the facts the defendant admits in conjunction with this plea agreement.

DEFENDANT’S ADMISSION OF FACTS

8. By my signature on this plea agreement, I am acknowledging that I am pleading
guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize
and accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge
that if I chose to go to trial instead of entering this plea, the United States could prove facts
sufficient to establish my guilt of the offense(s) to which I am pleading guilty beyond a
reasonable doubt, including any facts alleged in the Information that increase the statutory
minimum or maximum penalties. I specifically admit the following facts related to the charges
against me, and declare under penalty of perjury that all of these facts are true and correct:

Between March 27, 2014, and April 28, 2015, I worked with my co-defendants and .
others to distribute methamphetamine in Grant County, New Mexico. I am responsible
for the distribution of approximately 5 to 15 kilograms of methamphetamine. In
furtherance of our drug trafficking activities, I did the following:

¢ I supplied a co-defendant with at least 1/8 ounce of methamphetamine three
times a week for one year.
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e On April 17, 2015, I supplied this same co-defendant with 55.3 grams of pure
methamphetamine.

e On January 12, 2015, I supplied another co-defendant with 56.7 grams of
methamphetamine.

e From January to April 2015, I supplied another co-defendant with at least 1/8

ounce of methamphetamine per week.

e I supplied another co-defendant with at least 1/8 ounce of methamphetamine

once per week for four years.
In addition, agents found multiple firearms and ammunition throughout my residence
during the execution of a search warrant on April 30, 2015. These firearms and
ammunition were connected to my participation in methamphetamine trafficking.

9. By signing this agreement, the defendant admits that there is a factual basis for
each element of the crime(s) to which the defendant will plead guilty. The defendant agrees that
the Court may rely on any of these facts, as well as facts in the presentence report, to determine
the defendant's sentence, including, but not limited to, the advisory guideline offense level.

STIPULATIONS

10. The United States and the defendant stipulate as follows:

a. The defendant and the United States agree, pursuant to Federal Rule of
Criminal Procedure 11(c)(1)(C) that a specific sentence of 108 months is the appropriate
sentence in this case. This agreement takes into account the Defendant’s acceptance of
responsibility, with no further reduction to occur. The remaining components of the defendant's
sentence, including but not limited to any fine or restitution and the length and conditions of
supervised release, shall be imposed by the Court after the presentation of evidence and/or

argument by the parties.

FORFEITURE

11. Pursuant to 21 U.S.C. § 853, the defendant agrees to forfeit all of his right, title,
and interest in the following property (hereafter, collectively, the “Property”):

a. a Taurus .357 Magnum (serial number EM350803);
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b. a Rugar LC9 handgun (serial number 322-61299), a magazine clip
and six (6) cartridges;

c. two (2) Glock 19 handguns (serial numbers NA5672 and PFG005) and
two (2) magazine clips;

d. aS&W Bodyguard handgun (serial number KAN4458) and magazine
clip;

a Beretta Nano (serial number NU073964) and a magazine clip;
a 1911 Para (serial number 015080NW) and two magazine clips;
a Mossberg 20 gauge (serial number 0447329) and cartridges;

a Umarez Uzi (serial number 0W1012534);

three (3) Rugger 10-22s (serial numbers 826-64536, 828-47211 and
826-64595);

j. a pistol grip shotgun (serial number U279954);

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k. an Anderson lower received (serial number 5468F13);

l. a box of Hornaday ammunition containing twenty-five (25) 9mm
cartridges, a magazine, and eight (8) .40 cartridges; and

m. miscellaneous ammunition identified as Exhibits N-225, N-226 and N-
227.

12. The defendant acknowledges that the Property is subject to forfeiture to the
United States pursuant to 21 U.S.C. § 853(a)(2) because the Property was used or intended to be
used to commit, or to facilitate the commission of, the violations of 21 U.S.C. § 846 set forth in
the Information.

13. The defendant waives all interests in and claims to the Property, and hereby
consents to the forfeiture of the Property to the United States. The forfeiture may be
administrative, civil judicial, or criminal in the Government’s sole discretion. The defendant
hereby waives, and agrees to the tolling of, any rule or provision of law limiting the time for
commencing, or providing notice of, any administrative or civil judicial forfeiture proceeding
with respect to the Property, including, but not limited to, such limitations contained in 18 U.S.C.
§§ 924(d)(1) and 983 and 19 U.S.C. § 1621. The defendant agrees to consent. promptly upon

request to the entry of any orders deemed necessary by the Government or the Court to complete

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‘the forfeiture and disposition of the Property. The defendant waives the requirements of Federal
Rules of Criminal Procedure 32.2 and 43(a) regarding notice of forfeiture in the charging
instrument, announcement of the forfeiture in the defendant’s presence at sentencing, and
incorporation of the forfeiture in the judgment. The defendant acknowledges that he understands
that forfeiture of the Property, if the Government elects to conduct the forfeiture criminally, will
be part of the sentence imposed upon the defendant in this case and waives any failure by the
Court to advise the defendant of this, pursuant to Federal Rule of Criminal Procedure 1 1(b)C1.)),
during the change-of-plea hearing. Pursuant to Rule 32.2(b)(3), the defendant will promptly
consent to the preliminary order of forfeiture’s becoming final as to the defendant before
sentencing if requested by the Government to do so.

14. The defendant hereby waives, and agrees to hold the United States and its agents
and employees harmless from, any and all claims whatsoever in connection with the seizure,
forfeiture, and disposal of the Property. The defendant waives all constitutional and statutory
challenges of any kind to any forfeiture carried out pursuant to this plea agreement. Without
limitation, the defendant understands and agrees that by virtue of his plea of guilty the defendant
will waive any rights or cause of action that the defendant might otherwise have had to claim that
he is a “substantially prevailing party” for the purpose of recovery of attorney fees and other
litigation costs in any related civil forfeiture proceeding pursuant to 28 U.S.C. § 2465(b)(1).

DEFENDANT’S OBLIGATIONS

15. The defendant understands the defendant’s obligation to provide the United States
Probation Office with truthful, accurate, and complete information, including, but not limited to
defendant's true identity, citizenship status, and any prior criminal convictions. The defendant

hereby represents that the defendant has complied with and will continue to comply with this
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obligation. The defendant understands that any misrepresentation with respect to the above
obligations may be considered a breach of this plea agreement.
WAIVER OF APPEAL RIGHTS

16. The defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
defendant knowingly waives the right to appeal the defendant's conviction(s) and any sentence,
including any fine, at or under the maximum statutory penalty authorized by law, as well as any
order of restitution entered by the Court. In addition, the defendant agrees to waive any
collateral attack to the defendant’s conviction(s) and any sentence, including any fine, pursuant
to 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except on the issue of defense
counsel’s ineffective assistance.

GOVERNMENT'S AGREEMENT

17. Provided that the defendant fulfills the defendant’s obligations as set out above,
the United States agrees not to bring additional criminal charges against the defendant arising out
of the facts forming the basis of the present Information.

18. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.

VOLUNTARY PLEA

19. The defendant agrees and represents that this plea of guilty is freely and
voluntarily made and is not the result of force, threats or promises (other than the promises set
forth in this plea agreement and any addenda). There have been no representations or promises

from anyone as to what sentence the Court will impose.
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VIOLATION OF PLEA AGREEMENT

20. The defendant understands and agrees that if the defendant or the defendant’s
attorney violates any provision of this plea agreement, the United States may declare this plea
agreement null and void, and the defendant will thereafter be subject to prosecution for any
criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related
to the charges in this case, as well as perjury, false statement, and obstruction of justice, and any
other crime committed by the defendant during prosecution of this case.

SPECIAL ASSESSMENT

21. At the time of sentencing, the defendant will tender a money order or certified
check payable to the order of the United States District Court, District of New Mexico, 333
Lomas Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $100.00 in payment
of the special penalty assessment described above.

ENTIRETY OF AGREEMENT

22. This document and any addenda are a complete statement of the agreement in this
case and may not be altered unless done so in writing and signed by all parties. The parties agree
and stipulate that this agreement will be considered part of the record of defendant’s guilty plea
hearing as if the entire agreement had been read into the record of the proceeding. This
agreement is effective upon signature by the defendant and an Assistant United States Attorney,

and upon entry of a guilty plea by the defendant pursuant to this agreement.
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AGREED TO AND SIGNED this_\%%_ day of \ 4 , 2016.

DAMON P. MARTINEZ
United States Attorney

At GOK

ANNA R.WRIGHT

Special Assistant U.S. Attorney
555 S. Telshor Blvd., Suite 300
Las Cruces, NM 88011

(575) 522-2304 — Tel.

(575) 522-2391 — Fax

This agreement has been read to me in the language I understand best, and I have
carefully discussed every part of it with my attorney. I understand the terms of this agreement,
and I voluntarily agree to those terms. My attorney has advised me of my rights, of possible
defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant sentencing
guidelines provisions, and of the consequences of entering into this agreement. No promises or
inducements have been given to me other than those contained in this agreement. No one has
threatened or forced me in any way to enter into this agreement. Finally, I am_satisfied with the.
representation of my attorney in this matter. LO. ? .

 
 
 
   

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DANIEL LEE JAGQY vd
Defendant

I am the attorney for DANIEL LEE JACQUEZ. I have carefully discussed every part of
this agreement with my client. Further, I have fully advised my client of his-ri of possible
defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the relevant\ sentencing
guidelines provisions, and of the consequences of entering /intg’ this agreemenj.
knowledge, my client’s decision to enter into this agreement isa informed and vol

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j___\ Z

CESAR PIERCE- A

Attorney for Defenda
